                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )
                                                )
               vs.                              ) CRIMINAL NO. 3:17-CR-30090-MJR
                                                )
TEREZE L. FENDERSON,                            ) FILED UNDER SEAL
                                                ) EX PARTE
                       Defendant.               )

                             UNITED STATES OF AMERICA’S
                          EX PARTE MOTION TO REVOKE BOND

       The United States of America, by Donald S. Boyce, United States Attorney for the

Southern District of Illinois, and through, Steven D. Weinhoeft, Assistant United States Attorney,

respectfully moves this Court to enter an order, pursuant to Title 18, United States Code, Section

3148(b), revoking Defendant’s bond, and in support thereof states as follows:

       1.      The Defendant was charged by indictment on May 16, 2017, and first appeared in

U.S. District Court for the Southern District of Illinois on September 20, 2017. At that time,

Fenderson was admitted to bail under the terms and conditions set forth in Doc. 12.

       2.      There is probable cause that the Defendant has violated the terms and conditions of

release, as follows:

            a. The Defendant was ordered not to violate any federal, state or local law while on
               release. On Sunday, October 22, 2017, the defendant committed the Illinois offense of
               aggravated battery with a firearm, in violation of 720 ILCS 5/12-3.05, in that he shot T.R.
               with a firearm causing physical injury. This conduct is also a violation of federal law, to
               wit: felon in possession of a firearm, in violation of 18 U.S.C. §922.

       3.      Defendant is next scheduled to appear in district court for trial on January 22, 2018.

However, it is clear that the defendant is not abiding by the terms of his bail and poses a significant

threat of harm to the community. He also poses a danger to flee the jurisdiction of this Court.

       4.      Based on the above, the United States of America moves for the issuance of an
arrest warrant and detention of the Defendant to permit revocation of the Defendant’s conditional

release, pursuant to Title 18, United States Code, Section 3148(b).



                                                Respectfully submitted,

                                                DONALD S. BOYCE
                                                United States Attorney

                                                s/   Steven D. Weinhoeft
                                                STEVEN D. WEINHOEFT
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              vs.                           ) CRIMINAL NO. 3:17-CR-30090-MJR
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                                            ) EX PARTE
                      Defendant.            )

                                     Certificate of Service

          I hereby certify that on October 27, 2017, I caused to be electronically filed UNITED
STATES OF AMERICA’S EX PARTE MOTION TO REVOKE BOND with the Clerk of Court
using the CM/ECF system under seal.


                                               Respectfully submitted,

                                               DONALD S. BOYCE
                                               United States Attorney

                                               s/   Steven D. Weinhoeft
                                               STEVEN D. WEINHOEFT
                                               Assistant United States Attorney
                                               Nine Executive Drive
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